      Case 3:15-cv-00420-CSH Document 7 Filed 06/29/15 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                                   CONNECITCUT

VITTORIA AMASINO

              Plaintiff,

V.                                                     CIVIL ACTION NO
                                                       3:15-cv-00420-CSH


FRONTLINE ASSET STRATEGIES, LLC


Defendant.                                             JUNE 29, 2015


                             NOTICE OF DISMISSAL

The plaintiff through her attorney Bernard T. Kennedy stipulates that the claims in

the above-entitled action shall be dismissed with prejudice and without costs,

subject to approval of the Court.




                                                THE PLAINTIFF

                                                BY/S/Bernard T. Kennedy
                                                Bernard T. Kennedy, Esquire
                                                The Kennedy Law Firm
                                                1204 Main Street, #176
                                                Branford, CT 06405
                                                Ph (443) 607-8901
                                                Fax (443) 440-6372
                                                bernardtkennedy@yahoo.com
      Case 3:15-cv-00420-CSH Document 7 Filed 06/29/15 Page 2 of 2




                                  CERTIFICATION

I hereby certify that on 6/29/15 a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated
on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.




BY/S/Bernard T. Kennedy
